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                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                   BROWNSVILLE DIVISION


    STATE OF TEXAS, et al.,

            Plaintiffs,

    v.                                            Case No. 1:18-cv-00068

    UNITED STATES OF AMERICA, et al.,

            Defendants, 1

    and

    KARLA PEREZ, et al.,

    and

    NEW JERSEY,

            Defendant-Intervenors.


                   FEDERAL DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                    MOTION FOR SUMMARY JUDGMENT [ECF No. 625-1]
                     AND CROSS-MOTION FOR SUMMARY JUDGMENT




1 Under Federal Rule of Civil Procedure 25(d)(1), the following individuals are automatically
substituted as Defendants: Alejandro N. Mayorkas, Secretary of Homeland Security; Troy A.
Miller, Acting Commissioner of U.S. Customs and Border Protection (CBP); Tae D. Johnson,
Deputy Director and Senior Official Performing the Duties of the Director for U.S. Immigration
and Customs Enforcement (ICE); Ur Jaddou, Director of U.S. Citizenship and Immigration
Services (USCIS); Raul L. Ortiz, Chief of the U.S. Border Patrol, CBP.
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        STATEMENT OF THE ISSUES TO BE RULED UPON BY THE COURT

       Plaintiff States’ motion for summary judgment [ECF No. 625-1 (hereafter, “Pls’ Mot.”)]

challenges the Deferred Action for Childhood Arrivals (DACA) Final Rule recently promulgated

by the Department of Homeland Security (DHS). See Ex. 1, Deferred Action for Childhood

Arrivals, 87 Fed. Reg. 53,152 (Aug. 30, 2022) (Final Rule) (Defendants’ Appendix (“D. App.”)

001)). That rule rescinded Secretary of Homeland Security Janet Napolitano’s 2012 DACA

Memorandum and replaced it with DACA regulations. This Court previously granted Plaintiffs

summary judgment on their challenge to the DACA Memorandum and enjoined Federal

Defendants from issuing new or renewal DACA grants, but stayed that order as to renewals for

existing DACA recipients (ECF Nos. 575, 576). The U.S. Court of Appeals for the Fifth Circuit

affirmed in part, ordered a stay with respect to existing DACA recipients until further order of that

court or the Supreme Court, and remanded the case to the district court to consider the Final Rule,

which was issued while the appeal was pending. Texas v. United States (Texas II), 50 F.4th 498,

512 (5th Cir. 2022).

       Plaintiffs filed a supplemental complaint to challenge the Final Rule and now seek

summary judgment on those claims, requesting declaratory relief and an injunction prohibiting

Federal Defendants from issuing new DACA grants under the Final Rule and, after two years from

the date of judgment, from approving any DACA renewal applications. Plaintiffs concede that the

Final Rule remedies their procedural challenges to DACA, but assert both constitutional and

Administrative Procedure Act (APA) claims that the Final Rule is substantively unlawful.

Summary judgment is appropriate where “there is no genuine issue of material fact” and “the

moving party is entitled to a judgment as a matter of law.” Lynch Props., Inc. v. Potomac Ins. Co.,

140 F.3d 622, 625 (5th Cir. 1998) (citing Fed. R. Civ. P. 56(c)).

       Federal Defendants and Plaintiffs agree that the Final Rule is substantively the same policy
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as the DACA Memorandum. Texas II, 50 F.4th at 512. Federal Defendants do not seek to relitigate

before this Court any matter currently foreclosed by the Fifth Circuit’s prior decision in this case,

but they incorporate by reference and preserve for further review all previously raised arguments

regarding Plaintiffs’ lack of standing and the lawfulness of the policies now embodied in the Final

Rule. Those arguments are outlined below, along with Federal Defendants’ responses to new

points raised by Plaintiffs; under the proper view of those matters, Defendants, not Plaintiffs, are

entitled to summary judgment. Moreover, as reflected by Plaintiffs’ own proposed remedy, this

Court has equitable discretion in crafting relief for any legal violation it finds in this case.

Assuming this Court finds such a violation under the Fifth Circuit’s prior decision in this case, it

must therefore choose a remedy in light of the Supreme Court’s observations regarding the scope

of DHS’s discretion in choosing the means of winding down the DACA program if it is determined

to be unlawful, as well as the Fifth Circuit’s previous decision to “preserve the stay as to existing

[DACA] recipients.” Texas II, 50 F.4th at 531.

                INTRODUCTION AND SUMMARY OF THE ARGUMENT

       For over a decade, and consistent with longstanding practice, DHS has deferred the

removal of certain undocumented immigrants who were brought to the United States years earlier

as children, meet other criteria, and do not present other circumstances that would warrant removal.

This policy, known as DACA, allows DHS to focus its limited enforcement resources on higher

priorities, while furthering significant humanitarian interests. DACA is an exercise of DHS’s

statutory authority to “[e]stablish[] national immigration enforcement policies and priorities,” 6

U.S.C. § 202(5), and to otherwise “administ[er] and enforc[e]” the immigration laws, 8 U.S.C.

§ 1103(a)(1), by deferring the removal of certain undocumented noncitizens. DACA is carefully

designed to address a difficult National problem involving severe resource constraints and

significant humanitarian and policy concerns.
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       Although DHS fully uses available appropriations to remove or expel hundreds of

thousands of noncitizens annually, its resources are limited. DACA addresses this reality by using

discretionary deferred action for a category of noncitizens who the agency has determined are a

low priority for removal and who have particularly strong ties to this country: people who were

brought here as children (now over 15 years ago), many of whom have never known another

country as home. DACA allows DHS to focus its limited resources on noncitizens who pose the

greatest threats to homeland security—individuals who are higher priorities for removal from the

United States than the current and former students, veterans, and other individuals who comprise

the DACA population.

        As under the DACA Memorandum, the Final Rule affords DHS the discretion to decide

to temporarily forbear from removing certain noncitizens, who are consequently eligible for work

authorization and certain other benefits. The Final Rule is consistent with the Immigration and

Nationality Act (INA) and with decades of agency practice, approved by Congress and the

Supreme Court, to grant deferred action (or exercise similar forms of enforcement discretion) to

persons who are lower priorities for removal and to and to issue work authorization in comparable

circumstances.

       While Federal Defendants continue to press these points, which they believe establish the

legality of the DACA policy regardless of the form in which it was issued, they recognize that

Fifth Circuit precedent and this Court’s prior rulings regarding the DACA Memorandum likely

require this Court to hold that the substantively equivalent Final Rule is inconsistent with the INA.

To preserve their arguments for higher court review, Federal Defendants incorporate by reference

each of their defenses of DACA policy made in prior briefing, see ECF No. 569, Supplemental

Brief in Response to Plaintiffs’ Motion for Summary Judgment, and respond to new arguments



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made by Plaintiffs in their motion for summary judgment.

         Plaintiffs reassert many of their previous challenges to the DACA Memo to the Final Rule,

and also contend that the Final Rule is arbitrary and capricious. Those arguments largely restate

Plaintiffs’ contrary-to-law arguments in a different guise. Furthermore, Plaintiffs fail to

acknowledge DHS’s extensive discussion in the Final Rule responding to the thousands of

comments it received. This Court should therefore grant Defendants summary judgment on this

claim.

         As a remedial matter, neither an injunction nor vacatur of the Final Rule are available

remedies under either 8 U.S.C. § 1252(f) or the APA. But if they were, and if this Court concludes

that any part of the Final Rule is unlawful, this Court should limit any relief in several important

ways. First, consistent with the express severability provision the Secretary chose to include in the

Final Rule, the Court should sever any aspect of the Rule it considers inconsistent with the statute,

but leave in effect the remaining parts, undisturbed by any remedial order here. Second, the most

appropriate remedy if any portions of the Final Rule are found unlawful is that presaged by the

Supreme Court in DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891 (2020): an order directing

DHS to design and conduct an orderly wind-down of those portions (and only those portions). And

even if this Court were to impose a timeframe after which DHS is to stop renewing current

recipients’ DACA grants, as Plaintiffs propose, it should choose one substantially longer than the

two years Plaintiffs suggest without acknowledging any recognition of the complexities involving

in discontinuing DACA entirely. Accordingly, any instruction to DHS to consider the parameters

of a wind-down, or any timeline on which to carry one out, should not become operative until the

conclusion of appellate review of this Court’s judgment, at a point when judicial instructions to

the agency will be no longer subject to alterations that could dictate significant changes in the



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contours of any wind-down.

       Next, the Court should, under longstanding federal law, tailor the relief to only those

Plaintiffs who have established an injury-in-fact due to DACA. Texas is the only state to have even

offered evidence of injury, so there is no basis in the record to find that DACA has injured any

other state. And an injunction that provides that DACA may not operate in Texas, but that DHS

may continue administering DACA (including new and renewal grants) outside of Texas, resolves

Texas’s injury fully. Finally, if this Court enters any new order enjoining the Final Rule, it should

once again stay that injunction pending further review. Indeed, the Fifth Circuit itself indicated

that such a stay with respect to current DACA recipients was a key part of its decision upholding

the prior injunction in this litigation, and entered a stay of the current injunction that it directed

should remain in effect until further order of either that court or the Supreme Court.

                                         BACKGROUND

       I.      The Original Texas v. United States Litigation (Texas I)

       In 2014, two years after the original DACA Memorandum, the Secretary issued another

memorandum that expanded DACA and permitted other individuals to request deferred action

under a policy known as Deferred Action for Parents of Americans and Lawful Permanent

Residents (DAPA). Twenty-six States challenged the legality of DAPA and expansion of DACA

as announced in the 2014 memorandum. They did not challenge the 2012 DACA Memorandum

or seek to enjoin DACA in its original form. This Court entered a preliminary injunction barring

implementation of DAPA and expanding DACA, and a divided panel of the Fifth Circuit affirmed.

Texas v. United States (Texas I), 809 F.3d 134, 147-48 (5th Cir. 2015). The Supreme Court

affirmed by an equally divided Court. United States v. Texas, 579 U.S. 547 (2016) (per curiam).




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        II.     The Rescission of DACA

      In 2017, DHS rescinded the 2012 DACA Memorandum, subject to a wind-down period.2 In

June 2020, the Supreme Court vacated the rescission as arbitrary and capricious under the APA,

holding that DHS had failed to consider alternatives to rescinding DACA in its entirety, and failed

to adequately address the reliance interests of DACA recipients, their families, and their

communities. Regents, 140 S. Ct. at 1910-16. The Court indicated that DACA as a forbearance

policy is within the Secretary’s authority. Id. at 1911 (Texas I invalidated DAPA recipients’

eligibility for benefits, but it left “the Secretary’s forbearance authority . . . unimpaired.”); id. at

1912 (“[C]ontinuing forbearance remained squarely within the discretion of [DHS].”). The Court

also acknowledged that deciding the best way to move forward with “a program with the breadth

of DACA” involves “important policy choices” that are best left to DHS, id. at 1910, and that DHS

has “considerable flexibility in carrying out” this policy-making responsibility, id. at 1914. The

Supreme Court held that a remand to DHS was appropriate “so that it may consider the problem

anew.” Id. at 1916.

        III.    The Current Texas v. United States Litigation (Texas II)

      In 2018, six years after the DACA policy was adopted, Plaintiff States filed this action to

challenge the legality of DACA. ECF Dkt. 1. Plaintiffs argued that the DACA policy (1) was issued

in contravention of the APA’s notice-and-comment rulemaking requirements; (2) is contrary to

the INA; and (3) violates the Constitution’s Take Care Clause. Certain DACA recipients and States

appeared as Defendant-Intervenors. This Court denied Plaintiffs’ motion for a preliminary injunction,

citing Plaintiffs’ delay in bringing this suit, see ECF No. 319, and stayed this case pending the Supreme




2See https://www.dhs.gov/news/2017/09/05/memorandum-rescission-daca (last visited Feb. 28,
2023).

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Court’s decision in Regents.

     In 2021, this Court granted Plaintiffs’ Motion for Summary Judgment in part and denied

Defendant-Intervenors’ cross-motion, ECF No. 575, and issued a permanent injunction prohibiting

the Federal Defendants from administering the DACA policy, ECF No. 576. This Court held that

Plaintiffs have standing both as parens patriae and because Texas allegedly will increase its

expenditures on emergency healthcare and public education in response, ECF No. 575 at 14-33;

that the DACA Memorandum was procedurally unlawful because it was instituted without notice-

and-comment rulemaking, id. at 33-44; and that DACA conflicts with the INA, id. at 44-73. The

Court declined to reach Plaintiffs’ Take Care Clause claim. Id. at 73-74. The Court vacated the

DACA Memorandum, remanded for further administrative proceedings, and entered a nationwide

permanent injunction prohibiting the government “from administering the DACA program and

from reimplementing DACA without compliance with the APA.” ECF No. 576 3 -4. The Court

stayed portions of its permanent injunction, permitting the Federal Defendants to continue to grant

renewal requests for DACA recipients who obtained that status before the date of the injunction,

and, with respect to DACA applications “not already granted by the date of this order,” permitting

DHS to “continue to accept applications” but not to “grant these applications.” Id. at 4. Federal

Defendants appealed this Court’s judgment to the Fifth Circuit.

       While the appeal was pending, DHS published in the Federal Register a notice of proposed

rulemaking regarding the DACA policy. Ex. 2, 86 Fed. Reg. 53,736 (Sept. 28, 2021) (D. App.

151). On August 30, 2022, DHS published the Final Rule, which replaces the 2012 DACA

memorandum. Ex. 2 (D. App. 001). The Rule took effect on October 31, 2022. However, DHS is

prohibited by this Court’s injunction from granting initial DACA requests and related employment




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authorization under the final rule. ECF No. 603 (Oct. 14, 2022) (order extending the injunction to

the new regulations).

       In October 2022, the Fifth Circuit affirmed this Court’s judgment in part. Relying on its

decision in Texas I, the Fifth Circuit concluded that the State of Texas possessed standing to

challenge the DACA Memorandum, Texas II, 50 F.4th at 513-21; that the DACA Memorandum

violated the APA’s notice-and-comment rulemaking requirements, id. at 522-24; and that the

DACA Memorandum was substantively unlawful, id. at 525-528. The Fifth Circuit also upheld

this Court’s vacatur and nationwide injunction, and preserved the stay as to existing recipients,

granting intervenors’ request for such a stay “pending a further order of [the Fifth Circuit] or the

Supreme Court.” Id. at 530-32. In doing so, the Fifth Circuit commended this Court’s “restraint by

partially and temporarily staying the application of” its orders in view of the “[h]undreds of

thousands of individual DACA recipients, along with their employers, states, and loved ones, have

come to rely on the DACA program.” Id. at 530 (quoting this Court’s order); see also id. at 531

(holding that a stay is proper because, among other things, “DACA has had profound significance

to recipients and many others in the ten years since its adoption”). Finally, the Fifth Circuit

remanded to the district court rather than DHS, “for further proceedings that the parties may pursue

regarding the Final Rule.” Id. at 512 (noting “[t]hat does not, of course, foreclose remanding to

DHS upon review of the Final Rule in any future proceedings”).

       On remand, Plaintiffs filed a Supplemental Complaint challenging the Final Rule as

substantively unlawful under the APA and Constitution, ECF No. 620 -1, and now seek summary

judgment, ECF No. 625-1.




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                                          ARGUMENT

       I.      Plaintiffs Continue To Lack Standing And A Statutory Right Of Action For
               The Reasons Previously Asserted

       A. To establish Article III standing, Plaintiffs must demonstrate an injury that is (1)

concrete, particularized, and actual or imminent; (2) fairly traceable to the challenged conduct, and

(3) redressable. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013). Although Federal

Defendants acknowledge the Fifth Circuit’s ruling that “Texas has demonstrated standing” to

challenge the DACA Memorandum, Texas II, 50 F.4th at 520; see id. at 513-520, applies equally

to Texas’s standing to challenge the Final Rule and is, therefore, binding at this juncture, Federal

Defendants maintain that no plaintiff has satisfied “the irreducible constitutional minimum of

standing,” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992), and preserve their

disagreement with the court of appeals’ analysis for further review. As previously explained in this

Court and the Fifth Circuit, Plaintiffs: are not entitled to “special solicitude” in establishing

standing in this context, see ECF No. 504 at 31-33; cannot establish standing to challenge the

Government’s enforcement decisions and policies, see ECF No. 569 at 4-5; U.S. Br. 13-19, Texas

II; U.S. Reply Br. 2-4, Texas II; may not invoke parens patriae standing to challenge DACA on

behalf of their citizens, see ECF No. 569 at 3-4; U.S. Br. 19-20, Texas II; U.S. Reply Br. 4-6, Texas

II; have no legally protected or judicially cognizable interest in avoiding the incidental and

derivative effects of the policy on state expenditures; and have not met their burden to establish

injury, causation, or redressability, particularly given their obligatio n to do so with undisputed

facts for purposes of prevailing at summary judgment.

       Plaintiffs err in arguing that they are entitled to special solicitude in the standing inquiry

because they have not identified any quasi-sovereign interests affected by DACA. Plaintiffs argue

that their “inability to legislate around DACA” due to federal preemptio n “can create a quasi-


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sovereign interest.” Pls’ Mot. 27-29 (quoting Texas II, 50 F.4th at 515). But that argument could

be made concerning nearly any federal law or regulation, and Plaintiffs’ reasoning would turn

federal courts into an arena for myriad policy disagreements between particular States and the

national government with little burden on the States to demonstrate any injury. In any event, even

a State entitled to special solicitude has an obligation to establish a concrete injury. Delaware

Dep’t of Natural Res. v. FERC, 558 F.3d 575, 579 n.6 (D.C. Cir. 2009).

       In fact, it is Defendants who are entitled to summary judgment given Plaintiffs’ failure to

meet their burden—after five years of litigation, two discovery periods, and over ten years of

DACA operating in their states—to show any direct injury because of DACA. And without an

injury-in-fact, they cannot establish Article III standing regardless of any relaxed causation or

redressability analysis. In their attempt to establish harm, Plaintiffs continue to rely on prior

allegations that amount to no more than conjecture that there must be some DACA recipients

costing Texas some amount of money. See, e.g., Pls’ Mot. at 33 (acknowledging that the “record

does not indicate precisely what portion of all costs for illegal aliens is spent on DACA recipients,

but no one disputes that some are.”) (citing Texas II, 50 F.4th at 517-18)). Such conjecture is

insufficient at summary judgment. Spokeo, Inc., 136 S. Ct. at 1547–48 (Injuries that are

“hypothetical” or “conjectural” cannot establish standing); Lujan, 504 U.S. at 561 (at summary

judgment, Plaintiffs “can no longer rest on . . . mere allegations, but must set forth by affidavit or

other evidence specific facts” that demonstrate their injury). This Court’s prior conclusions are

equally speculative. See ECF No. 575 at 29 (“DACA recipients in all probability make up some

of” the “tens of millions of dollars” Texas spends annually on emergency Medicaid services for




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all undocumented immigrants) (emphasis added). 3 Nor is Plaintiffs’ assertion that “DACA

allow[s] recipients to compete with legally present workers for jobs” sufficient to show injury to

legally present workers. Pls’ Mot. 30. Plaintiffs offer no evidence that any business is actually

hiring DACA recipients over equally qualified legally present workers, or that any such practice

is substantial enough to alter the labor market or cause lower wages. See Alfred L. Snapp & Son v.

Puerto Rico, 458 U.S. 592, 607 (1982) (“more must be alleged than injury to an identifiable group

of individual residents,” a State has to allege injury “to a sufficiently substantial segment of its

population.”).

       Instead, the administrative record for the Final Rule establishes that all DACA recipients

currently make up no more than 0.69% of Texas’s workforce. 4 Furthermore, through a model

assuming the Final Rule operating without an injunction, DHS estimates that Texas could receive

only approximately 2,922 additional workers in the first year of the Final Rule, representing “about

0.0208% of the overall Texas labor force.” See Ex. 1, 87 Fed. Reg. at 53,286 (“The potential

impacts to the other States would be lower.”) (D. App. 136). And DHS estimated that compared

to the pre-2012 baseline, DACA caused workers to join the Texas workforce in numbers

representing only 0.4223% of the total workforce. See id. While DHS also acknowledges in the



3 Plaintiffs have also been on notice since 2019 of their mistaken reliance on expert testimony
purporting to acknowledge that DACA costs the state of Texas $250 million a year. See ECF No.
400-2, Decl. of M. Ray Perryman (June 15, 2019). Dr. Perryman made clear that Plaintiffs had
taken the figure out of context and that he is “not aware of any costs to the State of Texas as a
result of DACA and I provide no evidence of such costs in my report or analysis.” Id. at ¶6; id. at
¶9 (“The sources on which I relied to form my assumptions . . . estim ate costs related to
undocumented immigrants and their children and do not identify any costs attributable to DACA
recipients.”).
4Ex. 2, 86 Fed. Reg. at 53,800 (Section V.a.4.d, Regulatory Impact Analysis (RIA)) (“In February
2021, Texas had 14,034,972 people in the civilian labor force”) (D. App. 216); ECF No. 626-3,
Pls’ Ex. 39 (Pls’ App. 716) (showing approximately 97,140 DACA recipients residing in Texas as
of September 30, 2022).

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Final Rule that “the increase in the supply of labor [from DACA] could potentially have a negative

effect on overall wages, [. . .] the effect of DACA on overall wages would likely be very small and

would be unable to be detected in these data.” Id. at 53,154 (D. App. 004).

       DACA likely does not increase usage of Texas’s medical services. To the extent this can

be accurately measured, a 2017 study shows that receipt of DACA “significantly reduc[ed] the

odds of individuals reporting moderate or worse psychological distress,” and noted that the DACA

“population was relatively young (mean age <40 years in all groups) and therefore generally in

good physical health.” 5 It is Plaintiffs’ burden to show otherwise, and they do not.

       Nor do Texas’s new declarations help it satisfy Plaintiffs’ burden of establishing standing.

The declaration from the Texas Education Agency (TEA) describes certain expenditures that

Texas makes or will make to educate unaccompanied children (“UAC”) apprehended by

immigration authorities in fiscal years 2016-2023, but it does not identify any funds expended to

educate even a single individual with DACA, much less an individual who would have left the

state in the absence of DACA. See Pls’ Br. 23 (citing ECF No. 626-3, Pls’ Ex. 36, Terry Decl. ¶4

(Pls’ App. 675–76)). Because DACA recipients must have been present in the United States in

2007 and, as minors, enrolled in school at the time of requesting DACA, see ECF No. 626-1, Pls’

Ex. 4, DACA FAQ (Pls’ App. 016), it is highly unlikely a child without a guardian was able to

navigate the DACA application process or successfully establish the threshold criteria to obtain

DACA. Thus, Plaintiffs’ declaration regarding costs to educate UAC beginning nearly a decade

after 2007 does not sustain Plaintiffs’ summary-judgment burden to show a concrete injury




5 See Ex. 3, Health consequences of the US Deferred Action for Childhood Arrivals (DACA)
immigration programme: a quasi-experimental study, Atheendar S Venkataramani (April 2017),
(D. App. 237-38).

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attributable to DACA. 6 Spokeo, Inc., 136 S. Ct. at 1547-48 (conjectural injuries cannot establish

standing).

       Plaintiffs have also submitted a declaration from Susan Bricker identifying Texas’s

estimated healthcare spending on undocumented immigrants. ECF No. 626-3, Pls’ Ex. 35, Bricker

Decl. (Pls’ App. 655-661). As with Plaintiffs’ previous evidence, however, the declaration fails to

identify how much, if any, of these healthcare expenditures were made for DACA recipients or

(more importantly) how much was spent on DACA recipients who would leave the state if DACA

were terminated. See ECF No. 569 at 5; U.S. Br. 15-18, Texas II.

       The Plaintiffs’ failure to establish standing is underscored by Crane v. Johnson, 783 F.3d

244 (5th Cir. 2015), which neither this Court nor the Fifth Circuit previously addressed. In Crane,

the Fifth Circuit found that Mississippi lacked standing to challenge the DACA policy based on

categories of state costs for all undocumented immigrants, which is precisely what the Plaintiff

States allege here. 783 F.3d at 252. And Plaintiffs here similarly fail to establish a concrete injury

tied specifically to DACA. At a minimum, there is a genuine dispute of material fact as to whether

Texas suffered any injury traceable to DACA, precluding summary judgment for Plaintiffs. See

U.S. Br. 17, Texas II; U.S. Reply Br. 3-4, Texas II.

       B. Federal Defendants also acknowledge that this Court is bound by the Fifth Circuit's

determination that Plaintiffs have a right to sue under the APA, Texas II, 50 F.4th at 520-521, but

continue to maintain (and intend to press on appeal) that that ruling is incorrect and that Plaintiffs

lack prudential standing to bring this suit. As an initial matter, although this Court did not address



6 See also Ex. 2, 86 Fed. Reg. at 53,175 (“Indeed, two thirds (61 percent) of active DACA
recipients are between the ages of 20 and 29, with most other recipients between the ages of 30
and 45 (38 percent), and therefore unlikely to be enrolled in a public K –12 school. As of June
2022, the youngest noncitizens who meet DACA threshold criteria are generally in the 10th
grade.”) (D. App. 025).
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this issue in its last disposition of this case, the Fifth Circuit was mistaken that Federal Defendants

did not earlier raise it in this Court. See ECF No. 569 at 5-6 (arguing that Plaintiffs did not fall

within the zone of interests and noting that “the INA only provides noncitizens an opportunity for

judicial review of removal policies, as part of its detailed review scheme”).

        Here, Plaintiffs have no basis to sue under the APA, which does not “allow suit by every

person suffering injury in fact.” Clarke v. Sec. Indus. Ass’n, 479 U.S. 388, 395 (1987). The APA

provides a cause of action only to a Plaintiff “adversely affected or aggrieved by agency action

within the meaning of a relevant statute.” 5 U.S.C. § 702. To be “aggrieved” in that sense, “the

interest sought to be protected by the complainant [must] be arguably within the zone of interests

to be protected or regulated by the statute . . . in question.” Clarke, 479 U.S. at 396 (alteration and

citation omitted). When a Plaintiff is not itself the object of the challenged regulatory action, it has

no right of review if its “interests are so marginally related to or inconsistent with the purposes

implicit in the statute that it cannot reasonably be assumed that Co ngress intended to permit the

suit.” Id. at 399.

        Even if they were cognizable for Article III purposes, the Plaintiffs’ alleged injuries are not

protected by the INA, which governs the enforcement of immigration laws as to noncitizens, and

does not recognize any cognizable interest in third parties in the enforcement of those laws against

someone else. See Sure-Tan, Inc. v. N.L.R.B., 467 U.S. 883, 897 (1984); see also Linda R.S. v.

Richard D., 410 U.S. 614, 619 (1973). Moreover, the INA’s detailed provisions afford only

noncitizens—not States or other third parties— an opportunity to challenge removal policies. See

8 U.S.C. § 1252(b)(9), (g) (providing that review is available only for an “alien”). And even when

review is available for a noncitizen, Congress narrowly tailored access to courts to seek relief from

the Secretary’s decisions regarding removability (see 8 U.S.C. §§ 1252(a)(5), (b)(9)), and to



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completely preclude challenges to the Secretary’s decisions to initiate and conduct removal

proceedings, or to execute removal orders (8 U.S.C. § 1252(g)), see Reno v. Am.-Arab Anti-

Discrimination Comm., 525 U.S. 471, 487 (1999), including decisions not to initiate removal

proceedings, or to end them at any stage. Heckler v. Chaney, 470 U.S. 821, 832 (1985); see also 8

U.S.C. § 1226(e) (“The Attorney General’s discretionary judgment regarding the application of

this section shall not be subject to review”); 8 U.S.C. § 1252(b)(4)(D) (“[T]he Attorney General’s

discretionary judgment whether to grant relief under section 1158(a) of this title shall be conclusive

unless manifestly contrary to the law and an abuse of discretion”). These features of the statutory

scheme further underscore the absence of a right of action by the plaintiff States. The INA thus

precludes review by third parties here. 5 U.S.C. § 701(a)(1).

       Nothing in the INA’s text, structure, or purpose suggests that it protects a State’s interest

in limiting incidental healthcare and public-education expenditures, or limiting competition in its

labor markets, or provide grounds to contest the validity of the federal government’s immigration-

enforcement policies. And no relevant statutory provision establishes or recognizes a legally

cognizable interest in a State in preventing the noncitizens who happen to reside within its borders

from obtaining deferred action, work authorization, or potential eligibility for federal benefits. The

Plaintiffs have failed to establish that Congress intended to undermin e the Executive’s plenary

authority over immigration whenever a State disagrees with the Executive’s enforcement priorities

or other immigration policy choices.

       II.     DACA Is A Lawful Exercise Of The Secretary’s Authority

       A. Federal Defendants also recognize that the court of appeals affirmed this Court’s

conclusion that the DACA Memorandum—which relied on the same statutory authority as the

Final Rule—was inconsistent with the INA, see Texas II, 50 F.4th at 525-528, but continue to

disagree and preserve all previously made arguments to the contrary, see ECF No. 569 at 6-11;
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U.S. Br. 27-53, Texas II; U.S. Reply Br. 11-22, Texas II. The Final Rule and DHS’s interpretation

of the INA must be evaluated under the two-step analysis established by the Supreme Court in

Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 842-844

(1984). Although the Fifth Circuit assumed that framework applied in Texas II, it reached incorrect

results at each step of its analysis. See Texas II, 50 F.4th at 525. Federal Defendants maintain that

the DACA policy neither conflicts with any unambiguous provisions in the INA nor represents an

unreasonable interpretation and implementation of those provisions.

       Federal Defendants have previously explained why the forbearance component of DACA

is consistent with the INA, as the Supreme Court itself recognized in Regents. ECF No. 569 at 6-

11; U.S. Br. 27-53, Texas II; U.S. Reply Br. 11-16, Texas II. Similarly, Federal Defendants have

demonstrated that work authorization for DACA recipients has long been expressly permitted by

a regulation (8 C.F.R. § 274a.12(c)(14)) adopted pursuant to statutory authority (8 U.S.C.

§ 1324a(h)(3)); see ECF No. 569 at 8; U.S. Br. 42-50, Texas II; U.S. Reply Br. 16-20, Texas II.

       The Final Rule’s treatment of lawful presence is likewise consistent with the governing

statutes. Plaintiffs err in arguing that the INA “creates a comprehensive statutory scheme

governing lawful presence.” Pls’ Mot. 14. In fact, as the Final Rule explains, Congress expressly

granted the Secretary authority to determine who is “lawfully present” for the purpose of applying

Social Security benefits and inadmissibility under 8 U.S.C. § 1182(a)(9). Ex. 1, 87 Fed. Reg. at

53,208-53,209 (D. App. 058-59). In particular, 8 U.S.C. § 1611(a) provides that certain unlawful

immigrants generally are not eligible for federal public benefits, but subsection (b)(2) lifts that bar

with regard to Social Security benefits for any “alien who is lawfully present in the United States

as determined by the Attorney General” (now the Secretary). Longstanding regulations provide

that individuals for whom DHS has exercised forbearance from removal under a policy of deferred



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action will be treated as “lawfully present” for the purpose of this provision. 8 C.F.R.

§ 1.3(a)(4)(vi). The Final Rule merely reconfirms this prior regulation. See Ex. 1, 87 Fed. Reg. at

53,298 (D. App. 148). Likewise, 8 U.S.C. § 1182(a)(9)(B) provides that noncitizens who have

departed after accruing a certain period of unlawful presence in the United States and again seek

admission to the United States are inadmissible. But the INA clarifies that “an alien is deemed to

be unlawfully present in the United States” under that paragraph “if the alien is present in the

United States after the expiration of the period of stay authorized by the Attorney General.” 8

U.S.C. § 1182(a)(9)(B)(ii). DHS has long interpreted this provision to mean that persons should

not be deemed “unlawfully present” during “period[s] of stay authorized by the Attorney General”

(now the Secretary), id., including a period of deferred action; and, the Final Rule simply continues

this policy for DACA recipients. Ex. 1, 87 Fed. Reg. at 53,298 (D. App. 148). For both of these

issues, Plaintiffs fail to recognize or challenge DHS’s stated statutory basis for the Final

Rule. Thus, they have again forfeited any challenge to that statutory construction. Plaintiffs instead

contend that “Congress has enacted complex rules detailing how” certain groups of non -citizens

“can attain lawful presence in the country.” Pls’ Mot. 14. Part and parcel of those “complex rules,”

however, is a grant of authority to the Secretary to determine when certain individuals are lawfully

present.

       Finally, as discussed below, see p. 24, Section III.B, infra, each aspect of DACA—

forbearance, work authorization, and lawful presence—must be analyzed separately for

consistency with the statute before any remedy is applied to them. See 8 C.F.R. § 236.24

(governing “[s]everability”).

       B. Plaintiffs’ renewed attack on the advance-parole regime is misplaced. See U.S. Br. 50-

53, Texas II; U.S. Reply Br. 21-22, Texas II. Advance parole is not a feature of DACA. Nor is the



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advance parole process specific to DACA recipients, and DACA alone does not guarantee any

individual advance parole. See Ex. 4, USCIS, Form I-131, Instructions for Application for Travel

Document (Apr. 24, 2019) 4-5 (D. App. 245-46). Indeed, the Final Rule explains that advance

parole is not governed by the Rule, Ex. 1, 87 Fed. Reg. at 53,250 (D. App. 100), and no provision

of the regulations adopted in the Final Rule addresses eligibility for advance parole. Instead,

advance parole is a practice rooted in the INA, which provides that “any alien applying for

admission to the United States” may be paroled into the country “temporarily . . . on a case-by-

case basis for urgent humanitarian reasons or significant public benefit.” 8 U.S.C. § 1182(d)(5);

see Ex. 1, 87 Fed. Reg. at 53,250 (D. App. 100). Noncitizens without a visa currently in the United

States may, in certain instances, request parole in advance, which allows them to travel and reenter

upon a final parole decision made by DHS at a port of entry. See 8 C.F.R. § 212.5(f); see also Rais

v. Holder, 768 F.3d 453, 456 n.2 (6th Cir. 2014) (describing nature, purpose, and limits of advance

parole); Matter of Arrabally, 25 I. & N. Dec. 771, 777-78 & n.6 (BIA 2012) (same). The statutory

authority for advance parole thus has no bearing on DACA’s legality.

       C. Nor do Plaintiffs have any basis for relief under the Take Care Clause. See ECF No. 569

at 14-16. That Clause is addressed to the President and does not create a judicially enforceable

interest or a basis for a suit under the APA. See Franklin v. Massachusetts, 505 U.S. 788, 802-803

(1992); Mississippi v. Johnson, 71 U.S. 475, 498-499 (1866). Plaintiffs’ argument on this score

turns entirely on their contention that the DACA policy is unlawful under the INA. Pls’ Br. 20-21.

“[C]laims simply alleging that the President has exceeded his statutory authority are not

‘constitutional’ claims.” Dalton v. Specter, 511 U.S. 462, 473 (1994). In any event, DACA does

not dispense with any immigration statutes; it faithfully implements them. Congress expressly

vested the Secretary with the authority and duty to set immigration enforcement priorities. See 6



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U.S.C. § 202(5); 8 U.S.C. § 1103(a). DACA thus reflects the Secretary’s exercise of legal authority

to determine where to focus limited resources by temporarily deferring action for eligible low-

priority individuals, who then obtain the opportunity to live and work lawfully under other,

longstanding regulations. As the settled history of prosecutorial discretion confirms, nothing about

the Take Care Clause precludes the Executive Branch from exercising discretion when enforcing

the laws.

        D. Plaintiffs briefly assert that the Final Rule is arbitrary and capricious, but they fail to

recognize or engage with DHS’s extensive reasoning in the Rule. Pls’ Mot. 21-25. Indeed, DHS

thoroughly considered the thousands of comments that were submitted in response to the notice of

proposed rulemaking and explained its decision to promulgate the Final Rule.

        Plaintiffs first argue that the Final Rule is arbitrary and capricious because it “repeatedly

treats illegal aliens being participants in the U.S. workforce as a positive.” Id. at 22. In large part,

Plaintiffs’ arbitrary-and-capricious argument simply restates their contrary-to-law arguments

under a different guise: They assert that DHS’s reasoning “contradicts Congress’s ‘comprehensive

framework for combating the employment of illegal aliens.’” Id. For the same reasons that

Plaintiffs err with respect to their contrary-to-law arguments regarding work authorization,

Plaintiffs are also incorrect in their invocation of Congress’s intentions in regulating the

employment of undocumented immigrants.

        In any event, the Final Rule makes clear that DHS considered Plaintiffs’ concerns. DHS

considered DACA’s effects on wages and the welfare of other workers and employers. It observed

that “the estimated annual increases in the active DACA population in this final rule are small

relative to the total U.S. and individual State labor forces” and that “changes in wages depend on

many factors and various market forces, such as the type of occupation and industry, geographic



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market locations, and overall economic conditions.” Ex. 1, 87 Fed. Reg. at 53,286 (D. App. 136).

In some growing industries, labor demand might outpace labor supply such that employers will

offer higher wages even when the labor supply increases. Id. at 53,286-53,287 (D. App. 136-37).

Furthermore, allowing DACA recipients to work may create “positive dynamic effects” by

“permit[ting] business to grow,” and thus have “positive, rather than negative, effects o[n] other

workers, including U.S. citizens.” Id. Although DHS could not “predict the degree to which DACA

recipients are substituted for other workers in the U.S. economy,” it observed that immigrant

populations “tend to locate in areas with relatively high labor demand or low unemployment levels

where worker competition for available jobs is low.” Id. It also explained that “undocumented

noncitizens looking for work without authorization may be easily exploited, and employers may

pay substandard wages, which in turn potentially depresses wages for some U.S. workers.” Id.

DACA diminishes this possibility, and thus “the policy may help to protect U.S. workers and

employers against the possible effects of unauthorized labor.” Id.

       Plaintiffs similarly err in arguing that the Final Rule does not address how granting DACA

recipients’ employment authorization can be squared with the existence of “specific,

congressionally delineated categories” of immigrants who may obtain work authoriz ation. Pls’

Mot. 23. DHS addressed that argument as raised by commenters, explaining that a “commenter’s

assertion that Congress’ expressly authorizing certain classes of noncitizens for employment . . .

negatively implicates DHS’s ancillary and longstanding authority to grant discretionary work

authorization . . . depends on a misuse of the ‘expressio unius est exclusio alterius’ canon.” Ex. 1,

87 Fed. Reg. at 53,199 (D. App. 049); see also id. at 53,198-53,200 & nn.187-197 (D. App. 048-

50). DHS explained that Congress’s express authorization for employment of certain immigrants

is “supplemental to the general authority that already existed, and not in derogation of it or



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contradictory to it,” and that Congress has both “ratified” and declined to “disturb . . . or alter” the

statutory authority long invoked by DHS and its predecessors to grant work authorization to

various classes of noncitizens. Id.

        Plaintiffs also contend that the Affordable Care Act’s minimum-essential-coverage

requirement creates an incentive to hire DACA recipients over U.S. citizen workers. But Plaintiffs

did not raise that issue in their comments and have thus forfeited the argument. See Texas Office

of the Attorney General Comments, USCIS-2021-0006-15366 (Dec. 2, 2021), available at

https://www.regulations.gov/comment/USCIS-2021-0006-15366; Texas Oil & Gas Ass’n v. EPA,

161 F.3d 923, 933 n.7 (5th Cir. 1998) (arguments not raised before the agency during the notice-

and-comment period are waived). In any event, Plaintiffs have not provided any evidence that any

employer actually denies DACA recipients the health insurance coverage that it offers to its U.S.

citizen employees, or that it prefers to hire DACA recipients because it can do so. To the contrary,

DHS reasonably found that bringing undocumented noncitizens out of the shadows of unlawful

employment reduces the potential for employers to exploit and pay substandard wages to

immigrants, and thus may have the effect of increasing wages and benefits for some U.S. workers.

Ex. 1, 87 Fed. Reg. at 53,167 (D. App. 017).7

        III.    If The Court Finds The Final Rule Unlawful, It Should Limit Any Relief

      If this Court concludes that any part of the Final Rule is unlawful, a variety of factors counsel

in favor of limited relief. This Court may not enjoin or vacate the Final Rule, given 8 U.S.C.




7 Notably, Plaintiffs’ arbitrary-and-capricious arguments are directed only at the employment-
authorization provisions of the Final Rule. Thus, even if Plaintiffs were to prevail on those
arguments, the employment-authorization provisions should be severed and the remaining
provisions of the Final Rule (including forbearance and lawful presence) should remain intact. See
p. 24, Section III.B, infra.


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§ 1252(f) and the limits of the redress available under the APA. And even if those remedies are

available, this Court should confine its relief in connection with such equitable relief for a number

of reasons. First, any remedy should account for the severability of the Final Rule’s independent

pieces, barring the operation of only those found unlawful. Next, this Court should remand to DHS

to make the necessary policy judgments regarding the timeline and conditions of any orderly wind-

down of any aspect of DACA deemed unlawful—or at minimum, the Court should afford DHS

and the many stakeholders with tremendous DACA reliance interests significantly more time than

the two years Plaintiffs propose to stop renewing existing recipients’ DACA grants. Importantly,

any such remand or order regarding a wind-down should go into effect only after all avenues for

further review have been finally exhausted, and there is no remaining chance that a determination

about the legality of the program or its constituent parts will be altered. Any relief should,

moreover, be confined to Texas, the only Plaintiff State to have even attempted to demonstrate an

injury that requires redress, and, at the very most, to the Plaintiff States. And finally, any form of

relief this Court orders should be subject to the stay pending further review, which the Fifth Circuit

relied on in upholding the prior injunction and independently entrenched in its disposition of the

earlier appeal in this litigation.

    A. This Court Lacks Jurisdiction to Enjoin or Vacate DACA.

        As an initial matter, 8 U.S.C. § 1252(f) deprives this Cou rt of jurisdiction to enjoin or

vacate the Final Rule. See U.S. 28(j) Letter, Doc. 222, Texas II (July 1, 2022). The Fifth Circuit

held that Section 1252(f) does not apply to vacatur or to the injunction this court previously entered

that “prohibit[ed] the grant of DACA status to those who were not presently DACA recipients at

the time of the district court’s judgment.” See 50 F.4th 528-29. That conclusion would be binding

on this Court to the extent the Court enters similar relief as to the Final Rule. Bu t Federal

Defendants respectfully disagree with the Fifth Circuit’s conclusion, including for the reasons set
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forth in the government’s brief in United States v. Texas, No. 22-58 (S. Ct.) (argued Nov. 29,

2022), and preserve their contrary arguments for further review. In short, Section 1252(f)(1)

provides that “no court (other than the Supreme Court) shall have jurisdiction or authority to enjoin

or restrain the operation of [8 U.S.C. §§ 1221-1232].” This restriction “generally prohibits lower

courts from entering injunctions that order federal officials to take or to refrain from taking actions

to enforce, implement, or otherwise carry out the specified statutory provisions.” Garland v.

Aleman Gonzalez, 142 S. Ct. 2057, 2065 (2022). Plaintiffs’ requested relief would flout Section

1252(f) because they invoke 8 U.S.C. §§ 1226, 1227, and 1229a and argue that DACA prohibits

“immigration officials from enforcing these parts of the INA.” Pls’ Mot. at 13-15.

       Section 1252(f)(1) applies with equal force to Plaintiffs’ request for “vacatur.” The statute

forbids lower courts to “enjoin or restrain” the Executive Branch’s operation of the covered

provisions. 8 U.S.C. § 1252(f )(1) (emphasis added). The terms “enjoin” and “restrain” both

involve coercion, see Black’s Law Dictionary 529, 1314 (6th ed. 1990), and taken together they

indicate that a lower court may not impose relief that “interfere[s] with the Government’s efforts

to operate” the covered provisions in a particular way, Aleman Gonzalez, 142 S. Ct. at 2065. Much

like an injunction, vacatur would “enjoin or restrain” the operation of the covered INA provisions

by compelling officials “to refrain from actions” that, in the government’s view, are “allowed by”

the covered statutory provisions. Id.

       Nor does the APA’s provision permitting courts to “hold unlawful and set aside” agency

actions authorize vacatur of agency rules. 5 U.S.C. § 706(2). No party pressed this argument as to

the DACA Memorandum, and for that reason neither this Court nor the Fifth Circuit previously




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considered it. 8 Although the Fifth Circuit held that vacatur was an appropriate remedy as to the

DACA Memorandum, see Texas II, 50 F.4th at 529-530, that conclusion was premised on the court

of appeals’ assumption that Section 706(2) of the APA authorizes such vacatur. See Texas II, 50

F.4th at 529-30. That assumption is incorrect. Section 706(2) provides that a “reviewing court shall

. . . hold unlawful and set aside agency action, findings, and conclusions found to be” “arbitrary

[and] capricious,” “without observance of procedure required by law,” or “otherwise not in

accordance with law.” 5 U.S.C. § 706(2). But “set aside” in this context means “[t]o put to one

side; discard; dismiss” and b: “To reject from consideration; overrule.” Webster’s New

International Dictionary of the English Language 2291 (2d ed. 1958).

       Thus, properly understood, Section 706(2) establishes a rule of decision directing the

reviewing court to disregard unlawful agency actions when resolving the case before it, with regard

to the parties before it. It is a different provision of the APA, 5 U.S.C. § 703, that governs remedies

under the APA, providing that in the absence of a “special statutory review proceeding”

authorizing a court to act directly upon an agency order, Section 703 remits Plaintiffs to traditional

remedies like “declaratory judgments or writs of prohibitory or mandatory injunction or hab eas

corpus.” 5 U.S.C. § 703; see also e.g., Administrative Procedure Act, S. Doc. No. 248, 79th Cong.,

2d Sess. 36-37 (1946) (referring to Section 703 as governing remedies); 92 Cong. Rec. 2159 (1946)

(same). Congress did not intend to adopt any new remedies when it enacted Section 706, much

less to depart drastically from traditional principles of equity and create a novel remedy of

universal vacatur that operates “on legal rules in the abstract” rather than granting traditional




8This argument is also currently pending before the Supreme Court. See Gov’t Br. at 40-44, United
States v. Texas, No. 22-58 (S. Ct.).

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equitable relief “with respect to specific parties.” California v. Texas, 141 S. Ct. 2104, 2115 (2021)

(citations omitted).

    B. Any Remedy Must Account For The Severability Of The Final Rule’s Features

     Any remedy this Court orders should not treat the Final Rule as an undifferentiated whole.

As expressly contemplated by the Supreme Court in Regents, the Secretary has chosen to consider

as a policy matter the viability of each aspect of the current DACA regime separately. See 140 S.

Ct. at 1913 (observing that “forbearance and benefits are legally distinct and can be decoupled,”

and concluding that the then-Acting Secretary acted unlawfully by failing to consider “the option

of retaining forbearance without benefits”). In the Final Rule, the Secretary concluded that “even

if a court were to hold that DHS lacked authority to grant discretionary work authorization to

DACA recipients, DHS maintains that the court should sever the work authorization provision

from the rest of the regulation, leaving DACA’s forbearance component intact.” 87 Fed. Reg.

53,201; see also id. at 53,208 (similar with respect to lawful presence). Accordingly, the Secretary

provided in the Final Rule that if any provision is held to be “invalid and unenforceable in all

circumstances,” it “shall be severable from the remainder of this subpart and shall not affect the

remainder thereof.” 8 C.F.R. § 236.24(a); see also id. § 236.24(b) (“The provisions in

§ 236.21(c)(2) through (4) and § 274a.12(c)(14) and 274a.12(c)(33) are intended to be severable

from one another, from this subpart and any grant of forbearance from removal resulting from this

subpart.”).

     In crafting any remedy here, this Court should apply this severability clause and preserve

any aspect of the Final Rule it does not conclude to be unlawful. For example, to the extent that

the receipt of deferred action under DACA makes recipients eligible for certain benefits, or

removes a disqualification for benefits, those benefits do not “flow inexorably from forbearance,”



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and the agency could “exclude DACA recipients” from those benefits but nonetheless maintain

“the forbearance policy.” Regents, 140 S. Ct. at 1911-12 nn.5, 6; see also Pls’ Mot. 2 (noting that

“[a]t DACA’s inception, the program was justified as an exercise of prosecutorial discretion” in

which the government “was simply forbearing from enforcing the Nation’s immigration laws

against individuals who satisfied the criteria stated in the DACA Memorandum”). Thus, even if

this Court were to conclude that the INA does not authorize DHS to consider DACA recipients to

be lawfully present for purposes of determining the application of certain statutory provisions, or

eligible for work authorization, the proper remedy would be to so hold without casting doubt on

the remainder of the Final Rule. See Brackeen v. Haaland, 994 F.3d 249, 431-32 (5th Cir. 2021)

(invalidating only “discrete parts” of regulation).

    C. DHS Should Be Charged With Making Policy Judgments About The Timing And
       Conditions Of Any Wind-Down.

       Even assuming the Court finds that the Final Rule is unlawful and that universal vacatur is

an available remedy, it should decline to order it here. Instead, the more appropriate course would

be to remand without vacatur in order to permit DHS to craft an orderly wind-down of any legally

defective aspects of the Final Rule that this Court identifies, to be initiated once all avenues of

further review are exhausted and the contours of any legal rule under which the agency must

operate are no longer subject to change. Cf. Texas Ass’n of Mfrs. v. United States Consumer Prod.

Safety Comm’n, 989 F.3d 368, 389 (5th Cir. 2021) (“Only in ‘rare circumstances’ is remand for

agency reconsideration not the appropriate solution.”) (citing Central and South West Servs., Inc.

v. EPA, 220 F.3d 683, 692 (5th Cir. 2000)); see also, e.g., NRDC, Inc. v. Train, 510 F.2d 692, 713

(D.C. Cir. 1974) (“A federal equity court may exercise its discretion to give or withhold its

mandate in furtherance of the public interest, including specifically the interest in effectuating the

congressional objective incorporated in regulatory legislation.”).


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        The Supreme Court’s decision in Regents highlights the propriety of this remedy in the

specific context of DACA. As the Court explained, “[m]aking th[e] difficult decision” about how

to weigh factors such as “reliance interests,” “policy concerns,” and “other interests” in response

to a determination DACA was unlawful is “the agency’s job.” 140 S. Ct. at 1914. The Court

emphasized that “DHS has considerable flexibility in carrying out [that] responsibility,” noting

that the previous “wind-down” accompanying the attempted recission of DACA “is a good

example of the kind of options available.” Id. The Court even gave examples of how the agency

might have chosen to exercise its flexibility, flagging the possibility that the Secretary could

“consider[] a broader renewal period based on the need for DACA recipients to reorder their

affairs,” and adopt “more accommodating termination dates for recipients caught in the middle of

a time-bounded commitment” in light of, e.g., educational, military-related, or medical needs. Id.

Nor did the Court limit the Secretary’s discretion to temporal matters; it indicated instead that the

Secretary could “instruct[] immigration officials to give salient weight to any reliance interests

engendered by DACA when exercising individualized enforcement discretion.” Id.

        In light of the complexities involved in a policy involving over half a million noncitizens

living in the United States, and the “serious reliance interests that must be taken into account,”

Regents, 140 S. Ct. at 1913 (citations omitted), DHS is best positioned to exercise the “ full scope

of [its] discretion,” id. at 1911, in considering how to effectuate any wind-down of part or all of

that policy. Plaintiffs appear to recognize that immediate cessation of DHS’s ability to renew

existing DACA grants is unwarranted, instead proposing a two -year period after this Court’s

judgment in which DHS could continue to issue renewals. See Pls’ Mot. 5, 9. But Plaintiffs offer

no justification for that arbitrary timeframe, nor for their assumption that there are no further policy

choices to be made in crafting a wind-down—an assumption that cannot be squared with Regents.



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This Court and the Fifth Circuit have acknowledged the reliance interests at stake in considering a

vacatur of DACA. Texas II, 50 F.4th at 527 (“As the parties and their amici attest, DACA is of

enormous political and economic significance to supporters and opponents alike. Amici businesses

report that national GDP may contract by as much as $460 billion without DACA. An expert for

the Intervenors estimated that DACA contributes over $3.5 billion in net fiscal benefits to federal,

state, and local entities.”). Indeed, given these powerful reliance interests, this Court’s injunction

against the 2012 DACA Memorandum explained that “it is not equitable for a government program

that has engendered such significant reliance to terminate suddenly.” ECF 57 6 at 3; see id.

(“[E]quity will not be served by a complete and immediate cessation of DACA.”). The questions

of how long an orderly wind-down will take, and what other flexibility the agency might utilize in

effectuating it, in light of these weighty interests, are questions best left to DHS. 9

        At a minimum, this Court should not craft an order forbidding DHS from “approving . . .

after two years from the date of judgment, any DACA renewal applications.” Pls’ Mot. at 5, 9.

That timeframe is inadequate in light of the serious reliance interests at stake in hundreds of

thousands of homes and workplaces. And any wind-down should begin only after all avenues of

appellate and Supreme Court review have been exhausted.

      D.      Any Injunctive Relief Should Operate Only Within Texas

        Federal Defendants continue to contend that a nationwide injunction is inappropriate here

as a policy matter and under the law. An injunction may not afford more relief than “necessary to

give the prevailing party the relief to which he or she is entitled”—even in cases about immigration

policy. See Hernandez v. Reno, 91 F.3d 776, 781 & n.16 (5th Cir. 1996) (narrowing an overly



9 In the event of a remand without vacatur, the Court could maintain its preliminary injunction of
the Final Rule, with a stay of the injunction to allow DACA recipients to renew pending further
orders of this Court or higher courts.
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broad injunction affecting immigration policy); Department of Homeland Sec. v. New York, 140

S. Ct. 599, 600 (2020) (Gorsuch, J., concurring in grant of stay) (“Equitable remedies, like

remedies in general, are meant to redress the injuries sustained by a particular Plaintiff in a

particular lawsuit.”). This principle of “providing equitable relief only to parties” protects against

“[m]isuses of judicial power” that could “threaten ‘the general liberty of the people’” by allowing

courts to adjudicate more than “the rights of ‘individual[s].’” Trump v. Hawaii, 138 S. Ct. 2392,

2427-28 (2018) (Thomas, J., concurring) (quoting The Federalist No. 78, at 466 (Alexander

Hamilton) (Clinton Rossiter ed., 1961)).

       Here, no state besides Texas even attempted to establish a harm because of DACA.

Moreover, the Fifth Circuit has previously held that another of the Plaintiff States lacked standing

to challenge DACA. See Crane, 783 F.3d at 252. Accordingly, any injunctive relief should be

limited to Texas. Lewis v. Casey, 518 U.S. 343, 360, 360 n.7 (1996) (“Courts have no power to

presume and remediate harm that has not been established.”); Guajardo v. Texas Dep't of Crim.

Just., 363 F.3d 392, 397 (5th Cir. 2004) (“[T]he Supreme Court has required system-wide injury

for system-wide injunctive relief.”) (citing Lewis, 518 U.S. 343). Expanding relief here far beyond

the harm allegedly shown to one State out of concerns for “ensur[ing] uniformity and consistency

in enforcement” of the immigration laws, Texas II, 50 F.4th at 531, would have a cruel and

devastating effect on the individuals and communities that rely on DACA across the country.

Plaintiff West Virginia has presented no evidence that its 110 DACA recipients are upending its

labor market or have required any healthcare or education expenditure from the state. See ECF No.




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626-3 (Pls’ App. 716). Nor have any of the other Plaintiff states, none of which has more than a

few thousand DACA recipients among their millions of U.S. citizen residents. 10

        Plaintiffs contend that a limited injunction would be inadequate to remedy their alleged

injury. Pls’ Mot. 39. But they offer no reason to think that meaningful numbers of DACA recipients

would leave their homes, jobs, and communities in states like New Jersey, which welcome their

presence, to work in Texas, or that those numbers would be sufficiently significant to support the

extraordinary remedy of a nationwide injunction. Further, an injunction that limits DACA’s

operation within Texas’s borders would certainly apply to someone who obtained DACA

elsewhere and then moved to Texas.

      E. The Court Should Maintain the Present Stay Pending Appeal

        If the Court concludes that the Final Rule is unlawful and adopts any remedy that would

enjoin or disrupt operation of the Rule, the Court should at minimum maintain the present stay

pending appeal to allow current DACA recipients to continue to retain and renew DACA.

Although the Fifth Circuit has already endorsed and “preserve[d] the stay as to existing recipients”

in this litigation until further order of that court or the Supreme Court, Texas II, 50 F.4th at 531-

32, out of abundance of caution, Federal Defendants request that this Court similarly stay any order

it issues.

        As recognized by this Court and the Fifth Circuit, each factor favors a stay. To begin, it

remains true that “[t]he legal questions that DACA presents are serious, both to the parties and to

the public,” and that “in the similar DAPA case, the Supreme Court was equally divided over [the




10Among Plaintiffs, South Carolina has the largest population of DACA recipients after Texas,
with just 5,320 individuals. Id. DACA accounts for no more than 0.22% of its over two million-
person labor force. See Bureau of Labor Statistics, https://www.bls.gov/regions/southeast/south_
carolina.htm#eag (retrieved February 24, 2023).

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Texas I] judgment.” Texas II, 50 F.4th at 531. And as explained above, Federal Defendants have

made a substantial case on the merits. The Fifth Circuit, moreover, repeatedly emphasized the

existence of a stay in its remedial analysis. See, e.g., id. at 530 (concluding that a remand-without-

vacatur was unnecessary because “the district court stayed vacatur as to existing DACA

recipients”); id. at 530-31 (upholding injunction “with a partial stay”).

       Further, the lack of a stay would inflict irreparable injury and disserve the public interest.

As the Fifth Circuit recognized, “DACA has had profound significance to recipients and many

others in the ten years since its adoption,” and there would be “inevitable disruption that would

arise from a lack of continuity and stability” pending further review. Texas II, 50 F.4th at 531

(quotation marks omitted); see also ECF No. 575 at 76-77. The importance of the public’s reliance

interest on DACA—and in maintaining the status quo that has existed throughout this litigation—

is even clearer now than it was when the Supreme Court highlighted them in Regents. At the end

of the calendar year before this Court issued its injunction concerning the DACA Memorandum,

over 600,000 noncitizens in the United States were living in “all 50 States and the District of

Columbia” “with a grant of deferred action under DACA currently in effect.” Ex. 1, 87 Fed. Reg.

53,153-53,154 & n.7 (D. App. 003-04). “In reliance on DACA,” recipients have “enrolled in

degree programs,” “started businesses,” and built careers, like the 30,000 DACA recipients who

“are healthcare workers, many of whom have helped care for their communities on the frontlines

during the COVID-19 pandemic.” Id. The effects of lifting the stay would profoundly affect not

only those noncitizens, but also the more than 250,000 children born as U.S citizens to at least one

DACA-recipient parent. See id. (noting that approximately 1.5 million people in the United States

share a home with a DACA recipient). States and local communities also would suffer. DACA

recipients and their households pay an estimated “$5.6 billion in annual Federal taxes” and $3.1



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billion in state and local taxes. Id. And having “purchased homes” in reliance on the policy, DACA

recipients are now directly responsible for $566.7 million in annual mortgage payments. See id.

Equity sharply favors insulating such weighty interests from the full brunt of an order holding (any

portion of) DACA unlawful during the pendency of appellate proceedings.

       The government also plainly has an interest in preventing the widespread, operational

disruption that an immediate termination would cause. Under Article II, “the choice of how to

prioritize and how aggressively to pursue legal actions against defendants who violate the law falls

within the discretion of the Executive Branch.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2207

(2021); see also 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a). Further, “the realities of the limited

resources available to remove every noncitizen lacking lawful status from the United States”

demand that the Secretary exercise “prosecutorial discretion” in administering the immigration

laws, Ex. 1, 87 Fed. Reg. at 53,163 (D. App. 013), and the DACA policy is a critical part of the

Secretary’s discharge of that duty. DACA prevents DHS from having to expend resources to

determine whether to initiate enforcement proceedings each time it encounters a low -priority

individual. As the Supreme Court has recognized, even if DACA were found unlawful, “deciding

how best to address a finding of illegality moving forward can involve important policy choices,

especially when the finding concerns a program with the breadth of DACA”—and “[t]hose policy

choices are for DHS.” Regents, 140 S. Ct. at 1910.

       On the other side of the ledger, Plaintiffs do not seek an immediate termination of DACA,

and their asserted harms—indirect and incidental effects on state expenditures—are speculative.

See pp. 9-13, Section I.A, supra. Such considerations cannot justify the human and economic toll

that will be exacted if the full sweep of an injunction were to go into effect immediately.




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                                        CONCLUSION

       For the reasons stated above and in Federal Defendants’ prior briefing, the Court should

deny Plaintiffs’ motion for summary judgment, grant summary judgment for Federal Defendants,

and uphold the Final Rule in its entirety. If the Court finds the Final Rule to be invalid in any

respect, it should preserve any discrete aspect of the Final Rule not found unlawful, and remand

to DHS for further consideration without vacating or enjoining the Final Rule. If the Court does

craft injunctive relief of some variety, it should not limit DACA renewals to only two years post-

judgment, and should grant no more relief than is warranted by the limited evidence of harm to the

state of Texas. In any event, the Court should stay any remedial order to allow DACA recipients

to continue to renew DACA pending all available further review.




Dated: March 2, 2023                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I certify that on March 2, 2023, this document was electronically filed with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                                       /s/ James J. Walker
                                                       JAMES J. WALKER
